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 7
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
     TRACEY VALENTINE, on behalf of
                                  )                         Case No. 2:17-cv-00827-KJM-EFB
11   herself and all similarly situated
                                  )
     individuals,                 )                         CONSENT TO BE INCLUDED AS AN
12                                )                         INDIVIDUAL PLAINTIFF
                   Plaintiffs,    )
13   v.                           )                         [29 U.S.C. § 216(b)]
                                  )
14   SACRAMENTO METROPOLITAN FIRE )
     DISTRICT,                    )
15                 Defendant.     )
                                  )
16
17          I have been employed by the Sacramento Metropolitan Fire District (“District”) within the last
18   three years from the date indicated below, and I am generally familiar with the above-captioned
19   litigation. The District has not fully compensated me for the hours of overtime I have worked in
20   violation of the Fair Labor Standards Act. The District failed to pay my overtime at the "regular rate
21   of pay" as defined by 29 U.S.C. § 207(e). I therefore consent to be included as a Plaintiff in the above-
22   mentioned litigation and to be awarded damages if any are recovered. I understand that the law offices
23   of Mastagni Holstedt, APC, will be representing me in this action and that this consent form will be
24   filed with the court pursuant to 29 U.S.C. § 216(b).   I authorize said counsel to make all decisions with
25   respect to the conduct and handling of this case, including the settlement thereof as they deem
26   appropriate and/or necessary.
27          11/30/2017 2017
     Dated: ___________,                              Anthony Bellanca
                                                    ________________________________
                                                    (Signature)
28
                                                        Anthony Bellanca
                                                    ________________________________
                                                    (Print Name)

     CONSENT TO BE INCLUDED                                                            Valentine, et. al. v. SMFD
     AS AN INDIVIDUAL PLAINTIFF                                               Case No. 2:17-cv-00827-KJM-EFB
